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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE


   ELEIWA & SONS, INC.,         *
   d/b/a BEAUTY SECRET,         *
   a/k/a BEAUTY SUPPLY,         *
                                *
              Plaintiff,        *
                                *
   vs.                          *     NO. 2:09-CV-02086-shm-DKV
                                *               JURY DEMANDED
                                *
   PEERLESS INDEMNITY           *
   INSURANCE COMPANY,           *
                                *
              Defendant.        *


                           NOTICE OF SETTLEMENT



         COMES NOW the Defendant Peerless Indemnity Insurance

   Company, by and through its attorney of record and with the

   consent of the attorney for the Plaintiffs, and notifies

   the Court that all the claims of the Plaintiffs in this

   matter have been compromised and settled.           A Consent Order

   of Dismissal with Prejudice will be entered upon approval

   by all parties of same.
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                                Respectfully submitted,


                                BURCH, PORTER & JOHNSON
                                A Professional Limited Liability Company


                                BY: s/ John R. McCann
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                                Counsel for Defendant
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                         CERTIFICATE OF SERVICE

         I hereby certify that I have forwarded a copy of the
   foregoing to Kevin Snider, Esq., Corporate Gardens, 9056
   Stone Walk Place, Germantown, Tennessee 38138, via this
   Court’s electronic filing system this 31st day of March,
   2009.


                                s/ John R. McCann
                                John R. McCann
